             Case 22-10951-CTG                  Doc 704          Filed 03/20/23           Page 1 of 1


UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
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      22-10951

      Kabbage, Inc.




      Case Type :                       bk
      Case Number :                     22-10951
      Case Title :                      Kabbage, Inc.
      Judge :                           Craig T. Goldblatt
      Courtroom :                       3rd Floor Courtroom 7, Wilmington, DE
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